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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


United States of America, et al.,

                             Plaintiffs,        Case No. 1:20-cv-03010-APM

 v.                                             HON. AMIT P. MEHTA

Google LLC,

                             Defendant.




State of Colorado, et al.,

                             Plaintiffs,         Case No. 1:20-cv-03715-APM

 v.                                              HON. AMIT P. MEHTA

Google LLC,

                             Defendant.



         DEFENDANT’S RESPONSIVE PROPOSED CONCLUSIONS OF LAW
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                                 ABBREVIATIONS

   CITATION                  CORRESPONDING FILING OR TRANSCRIPT
       COL           Google’s Proposed Conclusions of Law (Remedies Phase) Dated May
                     16, 2025 (ECF 1347).
      PCOL           Plaintiffs’ Remedies Post-Trial Brief Dated May 16, 2025 (ECF 1348).
       FOF           Google’s Proposed Findings of Fact (Remedies Phase) Dated May 16,
                     2025 (ECF 1346).
      RFOF           Google’s Responsive Proposed Findings of Fact (Remedies Phase)
                     Dated May 23, 2025.
      PFOF           Plaintiffs’ Remedies Proposed Findings of Fact Dated May 16, 2025
                     (ECF 1349).
Pls.’ RPFJ Summary   Executive Summary of Plaintiffs’ Revised Proposed Final Judgment
                     Dated March 7, 2025 (ECF 1184).
    Pls.’ RPFJ       Plaintiffs’ Revised Proposed Final Judgment Dated March 7, 2025
                     (ECF 1184-1).
        Tr.          Transcript of the Evidentiary Hearing on Remedies Conducted from
                     April 21 to May 9, 2025.
Motorola Amicus Br. Brief of Amicus Curiae Motorola Mobility, LLC Dated May 9, 2025
                    (ECF 1335).




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I.     PLAINTIFFS’ RPFJ IS PREMISED ON A SERIES OF LEGAL ERRORS.

       A.      Plaintiffs Have Not Established the Causal Connection Required for Their
               Overreaching Proposals.

       A threshold issue that cuts across Plaintiffs’ proposals is their failure to establish “a

clearer indication of a significant causal connection between” the specific conduct the Court

deemed unlawful and the “maintenance of the market power” in the two relevant markets.

United States v. Microsoft Corp., 253 F.3d 34, 106 (D.C. Cir. 2001) (en banc). Plaintiffs’ only

arguments on this point misconstrue precedent and the Court’s liability opinion. And perhaps

most telling, Plaintiffs have retreated from their prior reliance on case law discussing

circumstances where a plaintiff may seek remedies to “terminate” a defendant’s monopoly

status, now asserting the Court “need not resolve this issue” because their radical proposals are

nonetheless otherwise justified. PCOL at 6. But Plaintiffs’ proposals have always been about

terminating Google’s monopoly status through forcibly shifting share to rivals, and their latest

effort to justify them (e.g., by denying the supposed “fruits” of the conduct) lacks any legal basis.

               1.      Plaintiffs Offer No Evidence of the Causal Connection Necessary to
                       Support Their Remedy Proposals.

       Plaintiffs admit that “more severe remedies necessitate ‘a clearer indication of a

significant causal connection between the conduct and the creation or maintenance of market

power.’” Id. at 11 (quoting New York v. Microsoft Corp., 224 F. Supp. 2d 76, 102 (D.D.C.

2002)). But instead of providing any such evidence, Plaintiffs double down on their claim that

“the existing record from liability and this Court’s findings already establish a significant causal

connection between Google’s conduct and its monopoly.” PCOL at 10. This assertion ignores

that Plaintiffs expressly argued during the liability phase that the Court should “infer causation,”

and the Court applied only that more “relaxed” standard. United States v. Google LLC, 747 F.

Supp. 3d 1, 153 (D.D.C. 2024); see COL at 18-19.
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        Plaintiffs pledged in their opening statement that they would address causation “much

more in [the] post-trial conclusions of law [and] post-trial findings of fact” and suggested the

Court could “make additional findings” because Plaintiffs were “going to submit those to Your

Honor.” Tr. 9:17-11:17. Yet the pertinent section of Plaintiffs’ brief cites only two proposed

findings from the remedies phase. PCOL at 8-10. One of the cited findings asserts that “[i]t is

not possible to predict precisely what the world would have looked like but-for Google’s

conduct,” and the other avers (based on a single reference to expert testimony) that “Google’s

distribution partners requested more flexibility than Google offered.” PFOF ¶¶ 242, 246. The

11 paragraphs of Plaintiffs’ proposed findings addressing causation primarily cite to the Court’s

liability opinion, and they cite only a single snippet of fact witness testimony that is devoid of

detail and adds nothing to the record. Id. ¶¶ 236-46. Plaintiffs’ latest approach to causation is a

complete retreat. They offer no evidence on this crucial point, and instead insist that the Court

(1) disregard that Plaintiffs asked the Court to “infer causation” and (2) reinterpret its liability

opinion using a standard that was not and could not possibly have been applied.

                2.      Plaintiffs Attempt to Distinguish Microsoft, But Their Arguments
                        Support Google’s Position.

        Plaintiffs’ attempt to distinguish Microsoft in a footnote actually supports Google’s

position. First, Plaintiffs contend the New York court expressed concerns about the usefulness of

Professor Murphy’s causation opinions. PCOL at 10 n.1. His opinions here are different than in

New York, but that is immaterial because the New York court rejected numerous remedies that

required more than an inference of causation and were less extreme variations of Plaintiffs’

RPFJ, including proposals for forced disclosure of assets and intellectual property, payment

bans, regulation of emerging products outside the relevant markets, and other provisions not

closely related to the exclusionary conduct. E.g., COL at 27, 40, 55, 63, 65.

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       Second, Plaintiffs incorrectly assert “this Court’s findings are stronger than” Microsoft

“even when using similar wording” because the conduct in Microsoft “targeted out-of-market

products where the potential to compete with the monopoly one day could be known only by

inference,” while this case involves “actual, in-market competition.” PCOL at 10 n.1. Plaintiffs

again ignore that they asked the Court to apply the “toothless” causation standard, and the Court

applied only that standard. COL at 18-19; Google, 747 F. Supp. 3d at 153 (stating “an

inference” of causation “is appropriate when exclusionary conduct is aimed at producers of

established substitutes” (cleaned up)). The fact that Microsoft involved nascent out-of-market

threats—where monopoly causation evidence may be more speculative—did not stop the court

from requiring a “significant causal connection” for drastic remedies. 253 F.3d at 106. Indeed,

because the GSEs that were purportedly excluded in this case are not “nascent,” Plaintiffs’

failure to prove but-for causation is not due to “uncertainty” about future technological

developments (i.e., would a browser develop into a sufficient middleware platform threat to

erode the applications barrier to entry and result in greater operating system competition).

Plaintiffs’ failure of proof follows extensive document and deposition discovery from every

major browser developer (e.g., Apple and Mozilla), Android OEM (Samsung and Motorola), and

wireless carrier (AT&T, T-Mobile, and Verizon) in the U.S. about their product designs. This

record yielded no evidence that any third party wanted to preload or set as a default a rival search

engine instead of Google (or wanted to preload or promote a rival in addition to Google). And

there is zero evidence that Apple would have developed its own GSE if Google had entered a

non-exclusive default agreement for the Safari browser. FOF §§ I, II.A.4; RFOF §§ III, V.D.

               3.      The Causation Requirement Is Not Limited to Structural Relief.

       Because there is no evidence of the “significant causal connection” required for

Plaintiffs’ proposals, they incorrectly suggest this standard only needs to be met for “structural
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remedies.” See PCOL at 11. Plaintiffs assert that Google is “pushing” Microsoft “to an illogical

extreme” by pointing out “that the heightened causation standard applies to every remedy other

than an injunction against the exclusionary conduct.” Id. at 13. But that is precisely what the

D.C. Circuit said in Microsoft: “Absent such causation, the antitrust defendant’s unlawful

behavior should be remedied by ‘an injunction against continuation of that conduct.’” 253 F.3d

at 106 (quoting 3 Phillip Areeda & Herbert Hovenkamp, Antitrust Law ¶ 650a, at 67 (1996)).

       Plaintiffs contend this holding is taken “out of context” because it was “part of

instructions for the district court to follow” in considering “whether the use of the structural

remedy of divestiture is appropriate.” PCOL at 13 (emphasis omitted). But Plaintiffs argued in

their opening statement that the first sentence of the very same paragraph of Microsoft is “the

piece that [Plaintiffs] think is controlling.” Tr. 10:9-25; see Microsoft, 253 F.3d at 106. It takes

a strained reading to suggest the first sentence of a paragraph is controlling while the final

sentence—which refines and applies the same instruction—is inapposite.

       In all events, the subsequent proceedings in Microsoft rebut Plaintiffs’ claim that a

“significant causal connection” is necessary to support only “a proposed structural remedy” and

“is inapplicable when the Court analyzes proposed behavioral remedies.” PCOL at 13-14. On

remand the court confirmed it “must assess the strength of the causation evidence that

established liability and tailor the relief accordingly.” New York, 224 F. Supp. 2d at 102. The

court then rejected numerous non-structural remedies, including by applying the “but for”

reasoning that Plaintiffs resist. E.g., id. at 262; see Massachusetts v. Microsoft Corp., 373 F.3d

1199, 1232 (D.C. Cir. 2004) (en banc).

       Finally, Plaintiffs are incorrect that “Massachusetts suggests … that only certain

structural remedies require a clearer indication of [a] significant causal connection.” PCOL at


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11. In summarizing Microsoft, the Massachusetts court stated in open-ended fashion that “a

drastic remedy, such as divestiture, would be inappropriate if Microsoft’s dominant position in

the operating system market could not be attributed to its unlawful conduct.” 373 F.3d at 1231

(emphasis added). And the court applied that heightened standard to a remedy that would “work

a ‘de facto divestiture.’” Id. at 1228, 1233 (dismissing an argument that “the district court erred

in applying a ‘stringent but-for test’ of causation” in analyzing a proposal to “open-source IE”).

               4.      Plaintiffs Misconstrue Google’s Position and Fail to Apply Their Own
                       Standard.

       Plaintiffs misconstrue Google’s position by suggesting they need not show “that the

conduct was the cause of the monopoly altogether.” PCOL at 12. The key point in this

respect—which Plaintiffs do not rebut—is that the remedy in a monopoly maintenance case must

reflect the extent to which the continuation of the monopoly was attributable to the exclusionary

conduct, as opposed to lawfully obtained advantages that would have persisted if not for the

conduct. COL at 4-7, 19-24. As Plaintiffs acknowledge, at a minimum there must be “a

proportionality between the strength of the evidence of the causal connection and the severity of

the remedy.” PCOL at 11 (quoting New York, 224 F. Supp. 2d at 102).

       Although Plaintiffs concede this standard applies, none of their proposals reflects the

requisite “proportionality.” Throughout their brief, Plaintiffs claim that Google should not be

“able to maintain the advantages [it] has gained through illegal conduct.” E.g., PCOL at 31. But

Plaintiffs have never distinguished any such “advantages” from the advantages that Google

lawfully obtained before the monopoly maintenance period and indisputably would have

lawfully continued to accrue, including through non-exclusive distribution. COL at 19-24, 53-

54. Plaintiffs repeatedly propose draconian remedies prohibiting lawful conduct despite offering

no evidence of the “causal connection” they admit is necessary. PCOL at 11.

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               5.      Plaintiffs Concede They Cannot Support the Notion That the Court
                       Should Seek to “Terminate the Monopoly.”

       Finally, because Plaintiffs have not shown that the lawfully acquired monopolies would

have terminated if not for the exclusive dealing identified in the liability opinion, the Court

should not impose remedies designed to do that. COL at 4-7. Plaintiffs assert for the first time

that “[t]he Court need not resolve” whether “terminating the illegal monopoly is inappropriate in

this matter.” PCOL at 6. Plaintiffs’ proposals, however, are very much based on that

impermissible objective. E.g., Pls.’ RPFJ Summary at 5 (“The remedy must . . . ‘terminate the

illegal monopol[ies].’”). If the objective is not to “terminate the monopoly” by reallocating

market share, then there is no justification for many of Plaintiffs’ proposals, including payment

bans that allegedly “would shift roughly 31% of U.S. queries” to inferior rivals or a Chrome

divestiture that “would likely result in at least a 7% share shift.” PCOL at 30, 35.

       B.      Plaintiffs Have Failed to Identify or Quantify the “Fruits” of the Violation.

       Because Plaintiffs cannot meet the causation standard necessary for their remedies, they

attempt to justify the proposals by asserting that they are directed to “the fruits” of the “statutory

violation.” PCOL at 5. Plaintiffs’ argument is just “termination of the monopoly” by another

name, and, in any event, they still must establish causation. “[T]he fruits of a violation must be

identified before they may be denied,” and the Court must peer “‘into the record far enough to be

confident’ what had been identified as fruits were actually ‘the products of the unlawful

practices.’” Massachusetts, 373 F.3d at 1232 (emphasis added). Plaintiffs repeatedly argue the

Court should “deprive” Google of “advantages … gained through its illegal monopoly

maintenance.” E.g., PCOL at 75. But nowhere do Plaintiffs comply with D.C. Circuit law by

identifying and quantifying the “advantages” purportedly gained from the exclusivity provisions

identified in the liability opinion, as opposed to the substantial advantages in these same areas

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that Google indisputably obtained through lawful means, including before the monopoly

maintenance period even began. Massachusetts, 373 F.3d at 1226, 1232.

       Plaintiffs also contend their proposals would “bring down the barriers that Google

artificially raised for more than a decade.” E.g., PCOL at 31, 74. Again, however, Plaintiffs

have not shown that any aspect of the “barriers” identified by the Court—such as “brand

recognition” and “scale”—arose from the unlawful conduct, and it is beyond dispute that all of

those natural “barriers” were in place and would have existed even without the exclusivity terms.

COL at 19-24. As Massachusetts held: “it does not follow that, because a proposed requirement

could reduce the applications barrier to entry, it must be adopted” because “the applications

barrier to entry arose only in part because of Microsoft’s unlawful practices.” 373 F.3d at 1226.

       Plaintiffs cite ancient cases discussing the “fruits” of illegal conspiracies that have no

bearing here. E.g., PCOL at 5. As Massachusetts explained, cases involving combinations or

conspiracies were “not analogous to Microsoft’s monopoly of the market for operating systems,

which is due not only to the exclusionary practices [the court] found unlawful … but also to

‘positive network effects.’” 373 F.3d at 1212. Plaintiffs again suffer a complete failure of proof,

as their proposals do not reflect the extent to which Google’s position in the Court’s relevant

markets is—or, more accurately, is not—attributable to the “exclusionary practices.” Id.1




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  Although cases involving unlawful conspiracies are inapposite in the monopoly maintenance
context, even one of the cases Plaintiffs cite most frequently—Schine Chain Theaters v. United
States, 334 U.S. 110 (1948)—illustrates why Plaintiffs’ approach is contrary to law. In Schine,
the Court reversed the divestiture of theaters because the trial court “did not determine what
dividends Schine had obtained from the conspiracy”; in other words, its “findings” did not
“reflect an inquiry to determine what theatres had been acquired by Schine through methods
which violate the Act” and “which in whole or in part were lawfully acquired.” Id. at 127-29. In
the other case cited by Plaintiffs, the unlawful conduct included acquisitions and the use of
ownership of certain boxing venues to further an unlawful conspiracy—conduct not at issue in
the present case. Int’l Boxing Club of N.Y., Inc. v. United States, 358 U.S. 242, 256-57 (1948).
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       In short, Plaintiffs’ proposals defy Massachusetts by attempting to depict every drastic

remedy—including Chrome divestiture, compelled syndication, and forced data disclosures—as

targeting the “fruits” of the violations. The Massachusetts court rejected less invasive versions

of those proposals and addressed the same failed arguments about “fruits.” 373 F.3d at 1232-33;

see COL at 6, 27, 38-39, 47-48. The D.C. Circuit concluded the trial court’s analysis of the

“fruits” of Microsoft’s violations—which were clearly more wide-ranging than the violations at

issue here—“properly focused … upon opening the channels of distribution to” the “makers of

rival middleware.” Massachusetts, 373 F.3d at 1229. Google’s PFJ likewise focuses on the

distribution channels related to the agreements identified in the Court’s opinion. COL at 11-16.

       C.      Plaintiffs’ “Remedy Package” Seeks Forced Parity That Is Contrary to Law
               and Not Even Supported by Their Own Expert Economist.

       Plaintiffs’ proposals ultimately are not grounded in the law or even their own economist’s

opinions, but rather in the unprecedented notion that the Court should create an artificial world

where “all market participants will be poised to compete on a level playing field without

restriction.” PCOL at 22. This is an even more radical version of “terminating the monopoly”—

an objective that indisputably cannot be pursued here. See id. at 6; COL at 4-7. In any market,

one firm may develop lawful advantages over another because of more capital, better ideas,

network effects, more efficient distribution, or countless other ways of “establishing an

infrastructure that renders [it] uniquely suited to serve [its] customers.” Verizon Commc’ns Inc.

v. Law Offices of Curtis V. Trinko, LLP, 540 U.S. 398, 407 (2004). In this case, Google

unquestionably obtained significant advantages—and substantial shares of Plaintiffs’ relevant

markets—through lawful means. COL at 19-24. There is zero evidence that “all market

participants” would have been “on a level playing field” in any but-for world because that was

not true before the monopoly maintenance period and it is not true of markets generally. The

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cases Plaintiffs cite rejected forced parity as impermissible “market engineering” and endorsed

“restoring conditions in which the competitive process is revived.” Massachusetts, 373 F.3d at

1231-32 (emphasis added); see, e.g., New York, 224 F. Supp. 2d at 261-62. Even Plaintiffs’

expert economist agreed that “the goal” should be “to allow competition to resume to where it

would have been without the conduct” deemed unlawful. Tr. 2206:16-24 (Chipty).

       Plaintiffs’ proposals bear no relation to reviving or resuming the competitive process.

Instead, Plaintiffs seek to prevent Google from engaging in lawful competition for non-exclusive

distribution in Search and GenAI, convert Google Search into a public utility for “Qualified

Competitors” to draw from, and strip Google of the browser it built from the ground up in the

hopes of shifting share to a rival search engine. There is no support in the law or the record for

any of these extreme interventions, which are based on a deeply flawed objective that would not

be appropriate under any circumstances and are especially inapt in a monopoly maintenance case

where the only exclusionary conduct identified by the Court was exclusive dealing.

       D.      Plaintiffs’ Other Principles Do Not Support Their RPFJ or Are Misstated.

       Plaintiffs’ other principles neither support their RPFJ nor support broader relief than is

found in Google’s PFJ. The Microsoft courts pursued objectives including “unfettering” the

markets “from anticompetitive conduct,” “pry[ing] open” the markets “to competition,” and

“ensuring” there “remain no practices likely to result in monopolization.” PCOL at 4-6; see, e.g.,

New York, 224 F. Supp. 2d at 100, 108, 153. Sound application of those principles led the courts

to reject less invasive versions of Plaintiffs’ proposals. E.g., COL at 27, 35-37, 54-55.

       Plaintiffs are incorrect that “[a] remedy may not only prohibit ‘acts which are of the same

type or class as the unlawful acts.’” PCOL at 7 (cleaned up) (quoting Zenith Radio Corp. v.

Hazeltine Rsch., Inc., 395 U.S. 100, 132 (1969)). The phrase “may not only” does not appear in

Zenith or any other cited case. To the contrary, “[e]ven where the government has proved
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antitrust violations at trial, the remedies must be of the ‘same type or class’ as the violations.”

United States v. Microsoft Corp., 56 F.3d 1448, 1460 (D.C. Cir. 1995) (emphasis added).

        Finally, while Plaintiffs argue that the Court “has wide latitude in selecting remedies,”

PCOL at 3, they do not acknowledge the extent to which their proposals are foreclosed as a

matter of law. Nor do they acknowledge the D.C. Circuit’s rejection of analogous proposals,

including under circumstances where the court made clear it would have been an abuse of

discretion to adopt the remedy. E.g., Massachusetts, 373 F.3d at 1219 (affirming rejection of a

proposal that “would allow” rivals to “‘mimic’ the functionality of Microsoft’s products”

because “not even the broad remedial discretion enjoyed by the district court extends to the

adoption of provisions so likely to harm consumers”).

II.     PLAINTIFFS’ PROPOSED REMEDIES ARE CONTRARY TO LAW.

        A.     The Proposed Payment Bans Are Based on Theories That Were Rejected or
               Disclaimed and Would Harm Consumers.

        Plaintiffs’ brief highlights how their proposed payment bans “ignore[] the theory of

liability in this case.” Id. at 1228. By attempting to bar payments for non-exclusive distribution,

Plaintiffs are relitigating their “dramatic post-trial shift,” where they argued “[u]nexpectedly, for

the first time post-trial, … that the court should eschew considering the agreements through the

lens of exclusivity.” Google, 747 F. Supp. 3d at 146 (cleaned up). The Court noted that “[f]rom

the outset, Plaintiffs have framed this case as one about exclusive dealing” and concluded that

“Microsoft compels application of the exclusive dealing framework.” Id. Having brought a case

challenging exclusivity, Plaintiffs cannot now seek to bar all payments for non-exclusive

distribution, particularly given the lack of causation discussed above.

        Plaintiffs’ arguments only reinforce that the payment bans would “impermissibly

threaten[] to interfere with ordinary and legitimate commercial practices inherent in [Google’s]

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participation in the … industry.” New York, 224 F. Supp. 2d at 137. Every OEM, carrier, and

browser developer in this case made clear it expects to be paid for distribution and promotion

because their recommendations are valuable and they use the revenue to fuel innovation and

deliver value to their customers. FOF §§ II.A.1, II.B, II.C; RFOF §§ V.C, V.D. It is thus no

surprise that Apple insisted on compensation from OpenAI, PCOL at 25, just as Samsung did for

non-exclusive promotion of Gemini, id. at 18. Banning Google from competing for non-

exclusive distribution would harm consumers by restraining lawful, procompetitive conduct that

Plaintiffs did not challenge. E.g., Google, 747 F. Supp. 3d at 172 (distinguishing “a non-

exclusive default” and confirming Plaintiffs are challenging only “contracts that require

counterparties to set Google as the exclusive search default”); see FOF § I.B; RFOF § V.G.

       The very first page of Plaintiffs’ brief further underscores the absence of support for their

proposed payment bans. Plaintiffs excerpt a statement that “Microsoft paid vast sums of money”

to “help enhance Internet Explorer’s share of browser usage,” United States v. Microsoft Corp.,

87 F. Supp. 2d 30, 44 (D.D.C. 2000), as if to suggest that stopping those payments somehow

“pave[d] the way for new companies such as Google.” PCOL at 1. Notably, however, the

remedy in Microsoft did not prohibit it from paying OEMs to promote IE, and in fact the court

held that a “complete ban” would be “absurd” because “it prohibits routine, procompetitive

business practices.” New York, 224 F. Supp. 2d at 216; see Massachusetts, 373 F.3d at 1226-27.

       B.      A Chrome Divestiture Would Be Unprecedented in Its Harmful Effects on
               Consumers and Unprecedented as a Legal Matter.

       A Chrome divestiture would be unprecedented in its technical complexity and the

magnitude of the harm inflicted on consumers. FOF §§ III.C, D, E; RFOF §§ VI.A, B. It would

also be unprecedented as a legal matter. Plaintiffs rely almost entirely on cases involving the

break-up of illegal conspiracies or unlawful acquisitions where ownership of the assets or

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business to be divested was integral to the unlawful conduct. E.g., PCOL at 7-8. As one of

Plaintiffs’ cases puts it, “[d]issolution of the combination will be ordered where the creation of

the combination is itself the violation.” United States v. Crescent Amusement Co., 323 U.S. 173,

189 (1944). All of these cases are plainly inapposite. See Microsoft, 253 F.3d at 105-06.

       Although United States v. United Shoe Machinery Corp., 391 U.S. 244 (1968), was a

monopolization case, it provides no support for Plaintiffs’ position. As Plaintiffs’ account

indicates, the conduct there involved a host of “practices”—such as “patent acquisitions” and

mergers—that were far more expansive than the distribution agreements at issue here. PCOL at

37. Crucially, the Court’s express directive was “to assure the complete extirpation of the illegal

monopoly,” United Shoe, 391 U.S. at 251, which is an objective Plaintiffs concede cannot be

pursued here. See PCOL at 6; COL at 4-7. The negotiated resolution in United States v. AT&T

Co., 552 F. Supp. 131 (D.D.C. 1982), also is hardly a model to follow. While that “decree was

in force,” the district court “was essentially a … telecommunications sector regulator,” and the

“divestiture provisions in the AT&T decree … probably added to market concentration” rather

than reducing it. Robert W. Crandall, The Failure of Structural Remedies in Sherman Act

Monopolization Cases, 80 Ore. L. Rev. 109, 184, 189 (2001).

       Moreover, the factual distinctions between these cases and a Chrome divestiture could

not be more stark. Google built Chrome from the ground up, and it became the most popular

browser in the U.S. before the monopoly maintenance period. FOF § III.A. It is remarkable that

in a case where the only unlawful conduct is exclusive dealing, Plaintiffs highlight “Chrome’s

popularity … on the Windows operating system” (where Edge is exclusively preinstalled) and

observe that it is “growing rapidly” on iOS (where Safari is exclusively preinstalled). PCOL at

31-32. A Chrome divestiture would be a drastic and impermissible punishment for building a


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popular product from scratch, and it would “set[] the bad precedent that the fruits of R & D and

development investments can be expropriated on the grounds that it would help competitors

compete in a complementary product market.” New York, 224 F. Supp. 2d at 244 (cleaned up).

       Plaintiffs’ arguments about the purported “centrality of Chrome to Google’s monopolies”

are badly misplaced, as they rest on lawful, unchallenged conduct. PCOL at 33. Setting Google

Search as the default in Chrome was “not alleged to be exclusionary conduct,” Google, 747 F.

Supp. 3d at 120, and integrating Gemini into Chrome also has not been (and could not be)

challenged because it is a product improvement of the same kind that other browser developers

such as Microsoft are making by incorporating their AI services into their browsers. RFOF §

VI.C. When Plaintiffs filed their complaints, they could have pursued a theory that Google was

“using Chrome as a tool to unfairly advantage its search product,” PCOL at 36, as Chrome was

just as popular then and has always been a proprietary Google browser with Google Search as

the default. If they had made such a claim, Google would have raised a raft of meritorious

defenses, as it did in response to Plaintiffs’ other claims that sounded in “self-preferencing” and

that this Court rejected.2 Especially when it comes to a drastic remedy such as divestiture,

Plaintiffs should not receive the benefit of a claim they intentionally decided not to pursue and

could not have proved. See, e.g., New York, 224 F. Supp. 2d at 174 (“[A]llegations must be

subjected to the rigorous four-part test outlined by the appellate court … before the Court can

find that Microsoft’s conduct violates antitrust law and demands a remedy.”).




2
  E.g., Google, 747 F. Supp. 3d at 181 (entering judgment for Google on claim that “Google has
prioritized and advantaged its own ad platform, Google Ads, over Microsoft’s ad platform on
SA360”); United States v. Google, 687 F. Supp. 3d 48, 87 (D.D.C. 2023) (entering summary
judgment on claim that “Google has chosen to include important features and functionality in
Google’s own ecosystem of proprietary apps”).
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       Finally, Plaintiffs do not rebut the overwhelming evidence that a Chrome divestiture

would harm users, businesses, governments, and other browser developers. No citation supports

their meek assertion that “there is no evidence to suggest that it will be worse,” PCOL at 39, and

in fact there is extensive evidence of the harms that would occur. FOF § III.D; RFOF § VI.A.

       C.      The Compelled Data Disclosure and Syndication Remedies Would Divest
               Google of Its Intellectual Property and Clone Its Valuable Assets.

       Plaintiffs’ data disclosure and syndication proposals are the largest and most complex

proposals for expropriation of assets, intellectual property, and user data in the history of U.S.

antitrust law. Yet Plaintiffs do not address any of the precedent explaining why compelled data

disclosure or syndication stifles investment and innovation. E.g., Trinko, 540 U.S. at 407-08;

Massachusetts, 373 F.3d at 1218-19. Nor do they offer any reliable economic evidence, as their

expert economist did not “know what specific data” would need to be disclosed and could not

offer “an opinion on data disclosures and how to draw that line,” despite admitting that

disclosing too much data can impair innovation. Tr. 2234:18-36:12 (Chipty). And instead of

addressing the enormous privacy implications of their RPFJ, Plaintiffs offer an abstract overview

of what is “possible,” without explaining what the Court actually should do. PCOL at 47-48.

       While any of these reasons would be sufficient to reject Plaintiffs’ radical proposals, they

should also be rejected because they are contrary to Massachusetts. Plaintiffs attempt to

distinguish this case by arguing that their forced data disclosure and syndication proposals are

not “structural,” but the only real distinction is that they would be more draconian.

       First, Plaintiffs contend their proposal “does not permanently transfer any rights” because

“the data sharing and syndication remedies proposed by Plaintiffs are limited to the period of the

judgment.” PCOL at 50-51. This flawed argument ignores that the data disclosure and

syndication provisions require Google to divulge its trade secrets, thereby irrevocably giving the

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recipients the same kind of “royalty-free, perpetual right” condemned in New York and

Massachusetts. Id. at 50. Rivals would not “unlearn” all of Google’s trade secrets when the

decree ends. See Storagecraft Tech. Corp. v. Kirby, 744 F.3d 1183, 1185 (10th Cir. 2014)

(“When someone steals a trade secret and discloses it to a competitor he effectively assumes for

himself an unrestricted license in the trade secret…. After all, what value does a trade secret

hold when it’s no longer a secret from the trade?”). Plaintiffs’ proposals are more severe than

those rejected in Massachusetts because Google would not only be required to disclose its

presently existing intellectual property but also many of its new innovations in areas such as

indexing and ranking for many years to come. In this regard, Plaintiffs’ RPFJ goes far beyond a

one-time disclosure of the URLs for each webpage in Google’s search index (without all of the

proprietary signals specified in Plaintiffs’ proposal)—a disclosure that would not raise nearly the

same intellectual property challenges as Plaintiffs’ demands for search ranking signals and the

Knowledge Graph. RFOF § VII.A ¶¶ 147-50.

       Plaintiffs also assert that their proposals “do not require disclosure of Google’s raw

intellectual property.” PCOL at 51. Plaintiffs do not say what they mean by “raw” intellectual

property, but their argument fails under any definition. It is difficult to conceive of clearer

examples of intellectual property than proprietary “quality measures” Google assigns to

webpages, “information sufficient to recreate Google’s Knowledge Graph,” or “[d]ata sufficient

to understand the … ranking of all items or modules on the SERP.” Pls.’ RPFJ §§ VI.A, VII.A.

       Plaintiffs next contend that “the data and the syndication are not ‘free.’” PCOL at 51.

But that was true of the proposal to require Microsoft to “auction” Microsoft Office licenses,

which would have allowed Microsoft to earn revenue from the auction and to continue selling

Office to its customers. New York, 224 F. Supp. 2d at 241. The courts nevertheless described it


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as “impos[ing] a forced divestiture of assets” and treated it as a structural remedy subject to the

heightened causation standard. Id. at 186, 241; see Massachusetts, 373 F.3d at 1232. Here

again, Plaintiffs’ proposals go far beyond what occurs in commercial syndication agreements—

the provision of Google “blue link” organic search results with appropriate search query rate

limits and express prohibitions on use for reverse engineering of Google’s intellectual property,

provided at negotiated commercial rates. RFOF § VIII.C.3

       Plaintiffs also assert “that Qualified Competitors will not be able to reverse engineer and

replicate or clone Google Search.” PCOL at 52. This is incorrect as a factual matter, as

demonstrated by the fact and expert witnesses who testified in the remedies hearing. FOF §§

V.C.1; V.E.2; RFOF §§ VII.C.3; VIII.B. But even if it were true that the proposal would not

result in cloning Google Search, the RPFJ would require disclosure of key components of

Google Search (such as the Knowledge Graph) and the provision of proprietary Google SERPs

(through both forced sharing of the “Glue” data and syndication). Massachusetts and New York

condemned even “partial” disclosures of Microsoft’s proprietary assets. E.g., Massachusetts,

373 F.3d at 1228 (rejecting a proposal that Microsoft “disclose the internal architecture of the

Media Bar” so that competitors can “create their own versions” of this component of IE).

       Finally, Plaintiffs’ proposals are contrary to law even if they envision that recipients of

these unprecedented handouts would “differentiate themselves from Google.” PCOL at 52.

Massachusetts condemned forced disclosures not only because they would allow rivals “to




3
  While syndication of search results raises significant IP concerns—which Google addresses in
practice through express contractual and technical restrictions on the features, query volumes,
storage, and reformatting rights it offers to its partners as well as the ability to select partners—
such syndication does not inherently raise the privacy concerns discussed by various witnesses
during the remedies trial because the queries and other private information (i.e., location and
click behavior) are those of people using the syndication partner’s services, not Google’s.
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‘mimic’ the functionality of Microsoft’s products,” but also because rivals could “develop

products that implement Microsoft’s Windows technology at a far lower cost than Microsoft

itself since they would have access to all of Microsoft’s research and development investment.”

373 F.3d at 1219 (cleaned up). That is unquestionably what Plaintiffs propose, as they argue that

“[r]equiring Google to offer text ads syndication ‘would provide a built-in business model’” and

“Search Index sharing remedies will accelerate the development of rival search indexes.” PCOL

at 42, 45. The fact that rivals would free ride on ongoing access to Google’s proprietary

innovations is not a virtue, it is a (fatal) vice. “The effect upon [Google’s] incentive to innovate

would be substantial; not even the broad remedial discretion enjoyed by the district court extends

to the adoption of provisions so likely to harm consumers.” Massachusetts, 373 F.3d at 1219.

       D.      Plaintiffs’ Arguments Regarding GenAI Confirm That Their Proposed
               Remedies Are Unjustified and Would Stifle Innovation.

       Plaintiffs’ cross-cutting proposals regarding GenAI should be rejected because GenAI

services were excluded from the relevant markets and were not the subject of any liability

findings. COL at 59-62. Plaintiffs’ brief omits this dispositive fact, even as Plaintiffs try to

explain it away by asserting that “during the liability trial in this case” GenAI “was a glimmer of

an idea that had yet to take hold of the American public.” PCOL at 2.

       While Plaintiffs’ depiction of the state of GenAI in late 2023 is questionable, if their

argument is taken at face value, then what has occurred in less than two years is remarkable. The

transformation from “a glimmer of an idea” to a world where numerous GenAI apps have

millions upon millions of users happened without any of Plaintiffs’ proposals. FOF § VII.F.

While Plaintiffs correctly credit Google for developing “the backbone of LLMs,” PFOF ¶ 67,

there is no doubt that a range of established firms and start-ups are driving breakthroughs in

GenAI quality and efficiency. FOF §§ VII.F. “When it comes to fashioning an antitrust remedy

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… caution is key,” and nothing about GenAI suggests a decade-long regulatory decree would

spur innovation. NCAA v. Alston, 594 U.S. 69, 106 (2021) (“Judges must remain aware that

markets are often more effective than the heavy hand of judicial power when it comes to

enhancing consumer welfare.”); see Massachusetts, 373 F.3d at 1224 (holding that a court’s

“discretion is necessarily less broad” when considering “a forward-looking provision”).

       Plaintiffs’ characterizations of this “next digital frontier” also disprove their assertion that

“Google’s proposed remedies … would maintain the status quo.” PCOL at 2-3. Major

companies such as Apple and Motorola have integrated rival GenAI services instead of or in

addition to Google’s Gemini, and these firms and others testified about their plans to work with

rival GenAI providers in the near future. FOF § VII.F.3.4 Although Gemini is not a GSE (or a

search access point), Google’s PFJ extends applicable distribution prohibitions to Gemini to

ensure that OEMs, carriers, and browser developers can continue preinstalling multiple GenAI

assistants (or exclusively preinstall a rival GenAI service if they prefer). COL at 14-16. But

forcing Google to refrain from competing for non-exclusive distribution or to disclose its assets

and intellectual property to GenAI services—who were not even arguably harmed by the conduct

identified in the Court’s opinion and have thrived without any remedies in place—would be

contrary to the antitrust laws, which “were enacted for the protection of competition not

competitors.” New York, 224 F. Supp. 2d at 153, 243 (cleaned up).

       E.      Plaintiffs’ “Additional” Remedies Should Also Be Rejected.

       The “Ads Transparency” Proposals. Plaintiffs cite no law in support of their attempt to

regulate the design of Google’s ads tools and reports, which were never alleged to be part of the


4
 The fact that Motorola is preinstalling, and Apple is in negotiations over promoting,
Perplexity—a service that did not even exist three years ago—confirms both the dynamism of
GenAI and the utter baselessness of Plaintiffs’ assertion that Motorola, Perplexity, or anyone else
“feared retaliation.” PCOL at 25, 65; see RFOF §§ V.C.2, 3; V.F.
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exclusive dealing conduct identified in the Court’s opinion and do not relate to competition in

the relevant markets. COL at 66-68. Plaintiffs’ brief is notable, though, in observing for the first

time that “Plaintiffs are supportive of adding appropriate privacy protections to this data set,”

without describing any such protections (which are not referenced in the RPFJ). PCOL at 56.

Plaintiffs propose that the Court regulate the granular details of Google’s ads tools and reports

(along with numerous other aspects of its business) for a decade. But even after extensive

discovery, a three-week hearing, and the assistance of a privacy expert (who pointedly did not

opine on this section of the RPFJ), Plaintiffs cannot determine what that regulation should entail.

The RPFJ would not notify Google whether it should or must disclose data to all of its advertiser

customers that could be used to identify which person entered specific queries. FOF §§ VIII.C,

D; RFOF §§ XII.A, B. This kind of defect is fatal, as “the specificity provisions of Rule 65(d)”

and “basic fairness require[] that those enjoined receive explicit notice of precisely what conduct

is outlawed.” Schmidt v. Lessard, 414 U.S. 473, 476 (1974). And this is only one example of a

substantive issue, not a mere technicality, that Plaintiffs have known about for months but have

not resolved. Under the RPFJ, vexing questions will arise each time advertisers seek “new

metrics,” PCOL at 55, or Google improves its tools, reports, or ads auctions. “Courts reviewing

complex business arrangements should … be wary about invitations to set sail on a sea of

doubt.” Alston, 594 U.S. at 107 (cleaned up).

       The Colorado Plaintiffs’ Public Education Fund. The Colorado Plaintiffs cite no

precedent for ordering Google to pay hundreds of millions of dollars for a “public education

fund” that could include paying consumers to use rival search engines. There is no such

authority, and neither the Sherman Act nor principles of equity authorize this kind of monetary

penalty. COL at 70-71. The Colorado Plaintiffs contend their fund would lower barriers to entry


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by providing information to users, but they did not analyze the information already available or

address the evidence that more information does not result in users switching away from Google.

FOF § XI; RFOF § XVII. The study they rely on to support forcing Google to pay consumers to

use a rival search engine is no support at all, as it shows that users would be harmed by being

induced to use a search engine they do not prefer. FOF §§ II.A.2, XI.

       The “Contingent” Remedies. Plaintiffs’ submissions do not say a word about the

significant adverse effects on investment and innovation that would occur immediately if the

Court were to cast doubt over Android’s future with a “contingent” divestiture provision. COL

at 31-33; FOF § IV.D. Plaintiffs’ proposal would harm billions of Android users and countless

businesses around the world now in furtherance of the vague and impermissible goal of “re-

align[ing] Google’s incentives” and “providing a deterrent effect.” PCOL at 64. Plaintiffs

submitted no evidence in support of these “contingent” proposals, and their economist had not

even looked at them because she told Plaintiffs “that the Android divestiture seemed to go too

far.” Tr. 2129:6-9, 2200:19-01:7 (Chipty). The cases Plaintiffs cite did not approve such a

sweeping and damaging provision that would upend an entire ecosystem, but rather placed the

burden on the conspirator-defendants to provide information showing their compliance with the

decree and to defend the legality of any future price-fixing terms of the kind invalidated. See

Ball v. Paramount Pictures, 176 F.2d 426, 428-29 (3d Cir. 1949). And Plaintiffs’ reference to a

court’s “authority to revisit and modify” a decree only illustrates why there is no justification for

a predetermined, draconian provision that would cause immediate harm. PCOL at 63.

       The Anti-Circumvention and Anti-Retaliation Proposals. Plaintiffs cite no precedent for

their proposed “anti-circumvention” provisions, which are not based on the decrees in Microsoft

or any other cited case. PCOL at 65-67. Courts have refused to enforce provisions that were


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more targeted than Plaintiffs’ sweeping proposals, which would prohibit, among other things,

“any conduct substantially similar to conduct prohibited by” the decree. Pls.’ RPFJ § X.F; see

COL at 72; Gulf Oil Corp. v. Brock, 778 F.2d 834, 843 (D.C. Cir. 1985) (vacating injunction

addressing “substantially similar” documents because it was “ambiguous” and “violated the

specificity requirements of Rule 65(d)”). The “anti-circumvention” provisions are contrary to

the law and the public interest, as they would leave Google to guess whether countless lawful

business and product design determinations were covered by the decree and thereby “chill”

legitimate, pro-competitive behavior. See, e.g., New York, 224 F. Supp. 2d at 137, 265.

       Plaintiffs’ “anti-retaliation” proposal is also baseless. The Microsoft court entered

targeted anti-retaliation provisions because the “liability findings … evidence[d] a practice by

Microsoft of threatened and actual retaliation” that was itself a form of exclusionary conduct.

New York, 224 F. Supp. 2d at 166-67; see Microsoft, 253 F.3d at 78. Even then, the court

rejected broader anti-retaliation proposals and emphasized that the provisions “must be carefully

drawn so as not to unduly restrict legitimate business practices” because “[s]uch restrictions can

dampen competition.” New York, 224 F. Supp. 2d at 163-64. There are no remotely comparable

findings in this case, and the materials Plaintiffs now cite reflect only vague and groundless

speculation, not threatened or actual retaliation. PCOL at 65-66; see RFOF § V.F; Motorola

Amicus Br. at 19 (“Motorola recently launched a new product line with multiple AI search

engines included without fear of retaliation.”).

       The Investment Notification Requirement. Plaintiffs’ argument about the “investment

notification” proposal underscores why the Microsoft court found a comparable provision was

“so far removed from any liability in this case, it is difficult to understand the manner in which

Plaintiffs believe such a provision will satisfy the objectives of an antitrust remedy.” New York,


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224 F. Supp. 2d at 192. Plaintiffs’ authorities are consent decrees where the challenged conduct

was a merger, and the “notification” requirement facilitated compliance with the conditions of

the settlement that enabled the merger. PCOL at 69. There is no evidence that mergers or

comparable deals had anything to do with the conduct in this case or that supplementing

statutory law on reporting such transactions is warranted here. RFOF § V.I.

       The “Self-Preferencing” Proposals. Plaintiffs’ proposals are based on unproven

allegations they never made during the liability phase and a “self-preferencing” theory the Court

rejected when it was pursued by the Colorado Plaintiffs through their SA360 claim. COL 63-65.

Moreover, their brief makes clear that they seek to impose sweeping regulation on the design of

Google’s products—including ones not even referenced in the Court’s opinion—in order to

inhibit Google from improving those products. PCOL at 70-71. As to the single example of

AICore that Plaintiffs focus on, their “self-preferencing” claim was thoroughly debunked at the

evidentiary hearing, and Plaintiffs still do not say how the Court should order Google to redesign

its proprietary software that enables its proprietary on-device model (Gemini Nano) to

communicate with a smartphone’s processors. FOF § VII.H.1; RFOF § VI.C. Nor do they

explain why any such Court-ordered redesign is justified given that Android smartphones

indisputably can and do preload multiple on-device models that communicate with the device’s

processors. FOF § VII.H.1. Yet Plaintiffs would have the Court repeat this exercise

innumerable times based on language in the RPFJ that provides no guidance and that Plaintiffs

themselves cannot explain. COL at 65-66. Consumers benefit from the wide availability of

Google’s innovations, and Plaintiffs offer no basis for the Court to “oversee product design” by

dictating when and how Google should make those innovations available in its proprietary

products. United States v. Microsoft Corp., 147 F.3d 935, 948 (D.C. Cir. 1998).


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       Choice Screens. Plaintiffs barely mention their proposal to force Google to pay an

amount that could exceed a billion dollars for Android OEMs and carriers to create choice

screens, and they certainly do not provide any legal support for this provision, which would not

have resulted from competition and would amount to an impermissible penalty. COL at 57-58.

Nor do they cite any authority for compelling Google to create choice screens on its own

proprietary devices such as Google Pixel—yet another example of Plaintiffs seeking to regulate

lawful conduct they chose not to challenge. Id. Plaintiffs’ justification is, however, telling. See

PCOL at 28. They recognize that the RPFJ would destroy Google’s incentive to invest in the

Android ecosystem, not least because it might be divested in a few years. But they fear that will

drive Google to focus on proprietary Pixel devices instead, so they seek to make investing in

those devices less attractive by saddling them with multiple choice screens. Id. Consumers

would bear the brunt of the harm from this misguided attempt to create forced parity by lowering

the ceiling on investment and innovation. And all of this would harm competition between

Android and Apple devices—an issue that none of Plaintiffs’ experts considered. FOF § II.B.

       F.      Plaintiffs’ Proposed Technical Committee Is Unlawful and Their RPFJ Is
               Incompatible with Precedent, Rule 65, and the Constitution.

       Plaintiffs’ proposed Technical Committee (TC) bears no resemblance to the entity

appointed in Microsoft, “which serve[d] to ‘assist in enforcement of and compliance with’ the

terms of the consent decree.” United States v. Microsoft Corp., 231 F. Supp. 2d 144, 196

(D.D.C. 2002) (emphasis added). Unlike in Microsoft, where the specific terms to be enforced

and complied with appeared in the final judgment, Plaintiffs envision that Plaintiffs themselves

and their TC will make up the terms as they go along. E.g., COL at 30, 43-44, 72-73.

       Plaintiffs cite no law supporting their assertion that “[t]he Court can set … the parameters

of the remedy and allow technical experts under its auspices and direction to implement them.”

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PCOL at 68. Rule 65(d), the Due Process Clause, and Article III do not permit such an

arrangement. COL at 72-74. Plaintiffs also do not cite their RPFJ to support that assertion

because it is not what the RPFJ says. The decree does not propose appointing technical experts

to advise the Court; rather, it proposes that Plaintiffs and a TC working at Plaintiffs’ direction

would determine Google’s substantive rights on matters as consequential as which assets would

be divested, which proprietary ranking signals would be forcibly disclosed at marginal cost, and

which privacy measures, if any, would be applied to highly sensitive user data. E.g., Pls.’ RPFJ

§§ III.B, F, U; VI.A, C. The RPFJ does not provide for judicial oversight of these discretionary

determinations, but even if that concept were introduced, it would be patently insufficient

because “even the temporary subjection of a party to a Potemkin jurisdiction so mocks the

party’s rights as to render end-of-the-line correction inadequate.” Microsoft, 147 F.3d at 954.

       Plaintiffs’ unprecedented arrangement cannot be justified on the ground that “this case

implicates extensive conduct.” PCOL at 67. For one thing, the statement is inaccurate, as the

only exclusionary conduct identified by the Court was exclusivity terms in a discrete number of

written agreements. For another, the plaintiffs in cases involving far more extensive conduct

(such as Microsoft) were able to craft enforceable decrees without reserving for themselves or a

TC the right to determine crucial details later. Plaintiffs also cannot excuse their obligation to

comply with precedent, Rule 65(d), and the Constitution by arguing that implementation “will

require technical expertise that the parties and the Court lack.” PCOL at 73. In the case

Plaintiffs cite, the court noted “the injunction’s preliminary nature,” yet it still described what the

defendants needed to do and enumerated steps they could take to comply with the obligation

while giving the defendants discretion to take different steps based on what “had been successful

or unsuccessful” for them in the past. M.G. through Garcia v. Armijo, 117 F.4th 1230, 1250-51


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(10th Cir. 2024); see M.G. through Garcia v. Scarse, 2023 WL 3686751, at *22-23 (D.N.M.

May 26, 2023). Here, Plaintiffs conducted years of discovery and worked with scores of expert

and third-party witnesses before submitting their RPFJ, yet they still seek to reserve vast

discretion for themselves and their TC to dictate Google’s obligations. Every provision of the

RPFJ that requires further determinations by Plaintiffs or the Technical Committee should be

rejected. E.g., COL at 30-31, 43-46, 51-52, 72-73.

       G.      The Duration of the Decree Should Be Three Years.

       Plaintiffs advocate a ten-year term, but the only cases in the pertinent section of their

brief entered five-year decrees, and another recent decision cited throughout their brief imposed

a three-year injunction. PCOL at 71-72.5 Moreover, Plaintiffs admit that some of their proposed

remedies, particularly compelled syndication, are supposed to be “a bridge to help rivals and

entrants … in the short term.” PCOL at 21. Plaintiffs also concede that “GenAI is presently

transforming all technology markets” despite arguing that less than two years ago it “was a

glimmer of an idea that had yet to take hold of the American public.” PCOL at 2, 71. Even five

years is an eternity under these circumstances, and there is no chance that a decree “will be

appropriately tailored to the needs of a rapidly changing industry” in ten years. New York, 224 F.

Supp. 2d at 184. The Court should enter Google’s PFJ, which provides for a three-year term.




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  New York, 224 F. Supp. 2d at 184 (five years); United States v. Apple, Inc., 2013 WL 4774755,
at *9 (S.D.N.Y. Sept. 5, 2013), aff’d 791 F.3d 290 (2d Cir. 2015) (five years); In re Google Play
Store Antitrust Litig., No. 21-md-0298, ECF No. 1017 at 1-3 (N.D. Cal. Oct. 7, 2024), appeal
pending sub nom. Epic Games, Inc. v. Google LLC, Nos. 24-6256, 24-6274 (9th Cir.) (three
years).
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